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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NE,V YORK                                                DATE FILED:             .
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UNITED STATES OF AMERICA,


                     - v. -                                                23-CR-00603 (ALC)

                                                                           ORDER
ROBERT RUMPH,

                                            Defendant.


                                                                       X
ANDREW L. CARTEll, Jlt, District Judge:

         The Status ConJ'crence set for January 14, 2025 is CANCELED.

SO ORDERED.


Dated:            New York, New York
                  December 20, 2024
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                                                              ANDREW L. CARTER, JR.
                                                              United States District Judge
